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 2
                            UNITED STATES DISTRICT COURT
 3                        NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
 4

 5
      UNITED STATES OF AMERICA
 6
                  Plaintiff,                       NO. CR 05-0375 SI
 7
             v.                                    STIPULATION AND [PROPOSED]
 8                                                 TRAVEL ORDER
      BRIAN LY, et al.,
 9
                Defendants.
10    _________________________________/

11           THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

12    defendant Brian Ly may travel outside the Northern District of

13    California, from the evening of Friday, May 26, 2006 through

14    Sunday, May 29, 2006, to Las Vegas, Nevada.            Prior to travel,

15    Brian Ly agrees to provide Pretrial Services with his itinerary

16    and contact information, including, the hotel where he will be

17    staying and a telephone number where he can be reached.

18           Pretrial Services Officer Betty Kim advised that Brian Ly

19    is in full compliance with his conditions of release and she has

20    no objection to the requested travel plans, under the conditions

21    proposed herein.

22    /S/JAMES BUSTAMANTE                   /S/ANDREW M. SCOBLE
      JAMES BUSTAMANTE                      ANDREW M. SCOBLE
23    Attorney for Defendant LY             Assistant U.S. Attorney
      Dated: May 10, 2006                   Dated: May 10, 2006
24

25

26
             IT IS SO ORDERED.
27                                          s/Nandor Vadas
             Dated: 5/17/06
28                                          NANDOR J. VADAS
                                            U.S. Magistrate Judge
